EXHIBIT A
              Case MDL No. 2948 Document 82 Filed 08/04/20 Page 1 of 3



                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: TIKTOK, INC., CONSUMER
PRIVACY LITIGATION                                                                      MDL No. 2948



                                        TRANSFER ORDER


        Before the Panel:* Plaintiff in an action pending in the Southern District of Illinois moves
under 28 U.S.C. § 1407 to centralize this litigation in that district. The litigation consists of the ten
actions listed on the attached Schedule A, five in the Northern District of California, four in the
Northern District of Illinois, and one in the Southern District of Illinois. The Panel has been notified
of nine potentially-related actions.1 All responding parties, including defendants,2 support
centralization, but differ as to an appropriate transferee district. Suggested districts include the
Central District of California, the Northern District of California, the Northern District of Illinois,
and the Southern District of Illinois.

        After considering the arguments of counsel,3 we find that these actions involve common
questions of fact, and that centralization will serve the convenience of the parties and witnesses and
promote the just and efficient conduct of this litigation. The common factual issues concern
defendants’ TikTok app, a highly popular social networking app used to create and share short
videos. Plaintiffs in all actions challenge defendants’ conduct with respect to the scanning, capture,
retention, and dissemination of the facial geometry and other biometric information of users of the
app. Centralization will eliminate duplicative discovery and the possibility of inconsistent rulings
on class certification and other pretrial matters, as well as conserve judicial and party resources.

        We select the Northern District of Illinois as transferee district. Four of the ten actions, as
well as three potential tag-along actions, are pending in the Northern District of Illinois, and have

        *
                One or more Panel members who could be members of the putative classes in this
litigation have renounced their participation in these classes and have participated in this decision.
        1
                These and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
        2
                TikTok, Inc., ByteDance Inc., Beijing Bytedance Technology Co. Ltd., and
Musical.ly.
        3
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by video conference at its hearing session of July 30, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2946 (J.P.M.L. July 14, 2020), ECF No. 63.
             Case MDL No. 2948 Document 82 Filed 08/04/20 Page 2 of 3



                                                  -2-

been proceeding in an organized fashion (for example, the actions have been consolidated, interim
lead plaintiffs’ counsel has been appointed, and a consolidated complaint has been filed). And,
although common defendants ByteDance, Inc., and TikTok, Inc., are headquartered in California,
they support selection of the Northern District of Illinois,4 as do multiple plaintiffs. The Honorable
John Z. Lee, to whom we assign the litigation, is an experienced jurist. He is presiding over the
related Northern District of Illinois actions, and has been actively managing them to date. We are
confident that he will steer this litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Illinois are transferred to the Northern District of Illinois, and, with the
consent of that court, assigned to the Honorable John Z. Lee for coordinated or consolidated pretrial
proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION




                                                         Karen K. Caldwell
                                                               Chair

                                        Ellen Segal Huvelle                 R. David Proctor
                                        Catherine D. Perry                  Nathaniel M. Gorton
                                        Matthew F. Kennelly                 David C. Norton




        4
                Specifically, in their response, defendants state that they “equally” support
centralization in either the Northern District of Illinois or the Northern District of California. Defs.’
Joint Response at 1 (ECF No. 30).
         Case MDL No. 2948 Document 82 Filed 08/04/20 Page 3 of 3



IN RE: TIKTOK, INC., CONSUMER
PRIVACY LITIGATION                                                 MDL No. 2948


                                      SCHEDULE A


           Northern District of California

     IN RE: TIKTOK, INC. PRIVACY LITIGATION, C.A. No. 5:19-07792
     P.S., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20-02992
     D.M., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20-03185
     R.S., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20-03212
     S.A. v. TIKTOK, INC., ET AL., C.A. No. 5:20-03294

           Northern District of Illinois

     E.R. v. TIKTOK, INC., ET AL., C.A. No. 1:20-02810
     MARKS v. TIKTOK, INC., C.A. No. 1:20-02883
     D.H. v. TIKTOK, INC., ET AL., C.A. No. 1:20-02884
     L.B. v. TIKTOK, INC., C.A. No. 1:20-02889

           Southern District of Illinois

     A.S. v. TIKTOK, INC., ET AL., C.A. No. 3:20-00457
